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                     THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NEW YORK

UNIVERSITY AT BUFFALO YOUNG AMER-
ICANS FOR FREEDOM; JUSTIN HILL; JA-
COB CASSIDY; and AMELIA SLUSARZ,

                                Plaintiffs,

                    v.                        CASE NO.: 1:23-cv-00480
UNIVERSITY AT BUFFALO STUDENT AS-               THE HONORABLE
SOCIATION, INC.; BRIAN HAMLUCK in his         LAWRENCE J. VILARDO
official capacity as the University at Buf-
falo Vice President for Student Life;         Jury Trial Demanded
TOMÁS AGUIRRE in his official capacity
as the University at Buffalo Interim
Dean of Students; and PHYLLIS FLORO
in her Official Capacity as the Univer-
sity at Buffalo Director of Student En-
gagement,

                              Defendants.

                 PLAINTIFFS’ RESPONSE IN OPPOSITION TO
     MOTION TO DISMISS OF DEFENDANTS HAMLUCK, AGUIRRE, AND FLORO
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                                    INTRODUCTION
      For over 50 years, it has been clear that “state colleges and universities are not

enclaves immune from the sweep of the First Amendment” and that it protects stu-

dents on campus to the same degree as citizens off campus. Healy v. James, 408 U.S.

169, 180 (1972). For over 40 years, there has been “no doubt that the First Amend-

ment rights of speech and association extend to the campuses of state universities.”

Widmar v. Vincent, 454 U.S. 263, 268–69 (1981). Thus, the Supreme Court has con-

demned efforts to prevent student groups from affiliating with like-minded, off-cam-

pus entities, see generally Healy, 408 U.S. 169, or to gerrymander campus fora to

exclude disfavored groups, see generally Widmar, 454 U.S. 263; Rosenberger v. Rector

& Visitors of Univ. of Va., 515 U.S. 819 (1995); Bd. of Regents of Univ. of Wis. Sys. v.

Southworth, 529 U.S. 217 (2000); accord Christian Legal Soc’y v. Martinez, 561 U.S.

661, 698–99 (2010) (condemning selective enforcement).

      The Complaint details how Defendants enforced three policies that flout this

precedent. Their National Affiliation Ban derecognized some student groups for affil-

iating with off-campus allies. Their Legal Status Ban recasts this policy, giving Stu-

dent Association unbridled discretion. It also requires student groups to merge into
Student Association to get recognition, losing their separate existence and their abil-

ity to organize events, own property, and defend their rights. And via the UB Recog-

nition Policy, the University Defendants give Student Association free rein.

      Even in elementary school, “free speech [and association] is not a right that is

given only to be so circumscribed that it exists in principle but not in fact.” Tinker v.
Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 513 (1969). Defendants have far

“less leeway in regulating student speech [and association] than … public elementary

or high schools.” DeJohn v. Temple Univ., 537 F.3d 301, 315–16 (3d Cir. 2008). So

Plaintiffs exceeded the minimal standard of FED. R. CIV. P. 8 (i.e., “a short and plain

statement … showing [they are] entitled to relief”). This motion should be denied.


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                                      ARGUMENT 1
      The University Defendants move solely under FED. R. CIV. P. 12(b)(6). Univ.

Defs.’ Notice of Mot. to Dismiss, Doc. 40, at 1. 2 Not only are such motions “generally

viewed with disfavor,” Freudenberg v. E*Trade Fin. Corp., 712 F. Supp. 2d 171, 178

(S.D.N.Y. 2010), but they also permit this Court to review only the Complaint and its

exhibits. Taylor v. Principal Life Ins. Co., 2023 WL 1997040, at *1 (W.D.N.Y. Feb. 14,

2023) (Vilardo, J.) (noting the Court “may consider any ‘documents … [that the] plain-

tiff[ ] … relied on in bringing the suit’” (quoting Brass v. Am. Film Techs., Inc., 987

F.2d 142, 150 (2d Cir. 1993))). Hence, this Court should exclude Defendant Floro’s

declaration, as well as Exhibits B, C, and D. Floro Decl., Doc. 40-2; Ex. B., Doc. 40-4;

Ex. C., Doc. 40-5; Ex. D, Doc. 40-6. 3 If it does not exclude these “extrinsic documents,”
it must “convert the motion to one for summary judgment and give the parties an

opportunity to conduct appropriate discovery and submit the additional supporting

material contemplated by Rule 56,” a “conversion requirement [that] is ‘strictly en-

forced.’” Manning v. Erhardt + Leimer, Inc., 2020 WL 759656, at *9 (W.D.N.Y. Feb.

7, 2020) (Vilardo, J.) (quoting Chambers v. Time Warner, Inc., 282 F.3d 147, 154 (2d

Cir. 2002); Friedl v. City of N.Y., 210 F.3d 79, 83 (2d Cir. 2000)).

      Under FED. R. CIV. P. 12(b)(6), the “‘issue is not whether [Plaintiffs] will or

might ultimately prevail on [their] claim[s], but whether [they are] entitled to offer

evidence in support of the allegations in [their] complaint.’” Merrill v. Schell, 279 F.

Supp. 3d 438, 442 (W.D.N.Y. 2017) (Vilardo, J.) (quoting Hamilton Chapter of Alpha

Delta Phi, Inc. v. Hamilton Coll., 128 F.3d 59, 62 (2d Cir. 1997)). This Court must

construe the complaint liberally, Freudenberg, 712 F. Supp. 2d at 179, “accept all

factual allegations as true[,] and draw[ ] all reasonable inferences in [Plaintiffs’]

1  Plaintiffs incorporate their response to Student Association’s motion to dismiss.
2  All pinpoint citations to filed documents refer to the internal page numbering or
bates-stamp number (if such exist), not the ECF page number.
3  Exhibit A to Defendant Floro’s declaration (i.e., Doc. 40-3) appears to be the same
document as Compl. Ex. 1, Doc. 37-1.

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favor,” Hawkins v. Miller, 2023 WL 5019602, at *1 n.2 (W.D.N.Y. Aug. 7, 2023) (Vi-

lardo, J.) (cleaned up) (quoting Trs. of Upstate N.Y. Eng’rs Pension Fund v. Ivy Asset

Mgmt., 843 F.3d 561, 566 (2d Cir. 2016)). Thus, “‘a well-pleaded complaint may pro-

ceed even if it strikes a savvy judge that actual proof of those facts is improbable.’”

Talarico Bros. Bldg. Corp. v. Union Carbide Corp., 73 F.4th 126, 140 (2d Cir. 2023)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007)).

       To defeat this motion Plaintiffs’ Complaint “‘must contain sufficient factual

matter, accepted as true to “state a claim to relief that is plausible on its face.”’” Haw-

kins, 2023 WL 5019602, at *2 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009);

Twombly, 550 U.S. at 570). This does not impose a “probability requirement” but just

calls for “factual content that allows [this C]ourt to draw the reasonable inference

that [the University Defendants are] liable for the misconduct alleged.” Id. (citing and

quoting Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 556); accord Twombly, 550 U.S.

at 555 (requiring complaints to “raise a right to relief above a speculative level”).

       The Complaint pleads facts about Defendants’ policies, their enforcement, and

the harm to Plaintiffs. As it “raise[s] a reasonable expectation that discovery will re-

veal evidence of illegal[ity],” this motion should be denied. Twombly, 550 U.S. at 556.

I.     The Eleventh Amendment poses no impediment to Plaintiffs’ claims.
       The University Defendants first invoke the Eleventh Amendment. Univ. Defs.’

Br., Doc. 40-1, at 8–9. But sovereign immunity has no bearing on Plaintiffs’ claims.

       Plaintiffs did not sue the State University of New York. They sued three Uni-

versity officials in their official capacities, 2d Am. V. Compl. (“Compl.”), Doc. 37, ¶¶

38–46, for prospective injunctive and declaratory relief, id. at 39. Even the cases the

University Defendants cite affirm this approach is proper. Dube v. State Univ. of N.Y.,

900 F.2d 587, 595 (2d Cir. 1990) (“[A] state official acting in his official capacity may

be sued in a federal forum to enjoin conduct that violates the federal Constitution,

notwithstanding the Eleventh Amendment.”); Banks v. State Univ. of N.Y., 2007 WL


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895505, at *7 (W.D.N.Y. Mar. 22, 2007) (same).

      Thus, the University Defendants are simply wrong to say that “they enjoy com-

plete Eleventh Amendment sovereign immunity” and that the “Complaint must be

dismissed on these grounds alone.” Univ. Defs.’ Br., Doc. 40-1 at 9. Again, their own

case betrays them. For after dismissing an official-capacity damages claim, it noted

that the plaintiff “also sought injunctive relief … and dismissal of that claim was not

warranted.” Koehl v. Dalsheim, 85 F.3d 86, 88–89 (2d Cir. 1996). Here, Plaintiffs seek

only equitable relief from the University Defendants. Compl., Doc. 37, ¶ 99 (seeking

nominal damages only from Student Association); id. at 39 ¶ F (same).

      The “Ex parte Young exception to state sovereign immunity” applies here be-

cause a “‘straightforward inquiry’” reveals the complaint “(1) ‘alleges an ongoing vio-

lation of federal law’ and (2) ‘seeks relief properly characterized as prospective.’” Silva

v. Farrish, 47 F.4th 78, 84 (2d Cir. 2022) (quoting Verizon Md., Inc. v. Pub. Serv.

Comm’n of Md., 535 U.S. 635, 645 (2002)). As in that case, Plaintiffs allege Defend-

ants’ policies—the UB Recognition Policy, the National Affiliation Ban, and the Legal

Status Ban—remain in effect and violate their rights. Compl., Doc. 37, ¶¶ 55–192

(detailing the flaws in the policies, how they were enforced, and how they harmed

Plaintiffs); id. ¶ 194 (alleging these policies “violate the First and Fourteenth Amend-

ments and cause irreparable harm”). And Plaintiffs seek from the University Defend-

ants both injunctive and declaratory relief. Id. at 39 ¶¶ A–E, G–H. The injunction

and declaratory judgment, setting forth Plaintiffs’ rights and resolving their individ-

ual claims, are consistent with the Eleventh Amendment. Silva, 47 F.4th at 85–86.

II.   None of Plaintiffs’ claims should be dismissed because Defendants’
      policies are unconstitutional in any forum.
      The University Defendants expend considerable space outlining the forum doc-

trine. Univ. Defs.’ Br., Doc. 40-1 at 9–12. Much of this is unnecessary, as the student

organization forum here is a limited public forum. Rosenberger, 515 U.S. at 829



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(describing student fee forum as a “limited public forum”); Southworth, 529 U.S. at

234 (noting same is “tantamount to a limited public forum”); Martinez, 561 U.S. at

679 (noting recognized student organization forum is a “limited public forum”). 4

      Ultimately, the forum designation matters little here because Defendants’ pol-

icies are unconstitutional in any forum. The Supreme Court has specifically con-

demned university efforts to prevent student groups from affiliating with like-minded

off-campus entities, and Defendants’ policies fail any level of scrutiny for a limited

public forum. Thus, Plaintiffs’ claims exceed the minimal plausibility standard.

      A. By focusing on their general authority to make rules and on other
         fora, the University Defendants distract from flaws of their poli-
         cies, but this provides no basis for dismissing Plaintiffs’ claims.
      Rather than defending their policies, the University Defendants focus on other

fora, Univ. Defs.’ Br., Doc. 40-1, at 7–8, 12–13, or their general rule-making authority,

id. at 11. In the process, they rely on extrinsic documents, something that FED. R.
CIV. P. 12(b)(6) does not permit. Taylor, 2023 WL 1997040, at *1. But neither misdi-

rection provides a basis for dismissing any of Plaintiffs’ claims.

      This case challenges three policies related to the student organization forum

that Student Association administers, thanks to authority the University Defendants

give it. The Complaint alleges that Student Association adopted both the National

Affiliation Ban and the Legal Status Ban, enforced the former, and enforces the lat-

ter. Compl., Doc. 37, ¶¶ 75–113. The Legal Status Ban still limits the ability of stu-

dent organizations to affiliate with off-campus entities, as they must seek Student

Association’s permission, permission it can grant or withhold at will. Id. ¶¶ 110–13.


4   That said, the University Defendants wrongly described the facilities forum in
Widmar as a “limited public forum.” Univ. Defs.’ Br., Doc. 40-1, at 10. For Widmar
ruled that the policies prohibiting religious student groups from using these facilities
constituted “content-based exclusions.” Widmar, 454 U.S. 270; id. at 273 (noting the
university was “exclud[ing] groups because of the content of their speech”). In a lim-
ited public forum, only viewpoint discrimination is off-limits. Rosenberger, 515 U.S.
at 829–30. Thus, this forum had to be at least a designated public forum for students.

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And the only reason these policies have any teeth is that the UB Recognition Policy

says student groups seeking recognition from Student Association “must abide by [its]

Rules and Regulations.” Id. ¶¶ 66. According to the Complaint, the University De-

fendants implement the UB Recognition Policy, id. ¶¶ 57, 67, and it is under their

authority that Student Association enforces its policies, id. ¶ 70.

      The University Defendants note that student groups can seek recognition from

other entities. Univ. Defs.’ Br., Doc. 40-1, at 7–8, 12–13. But the Complaint pleads

that the Student Association forum is different. For “only student organizations that

are recognized by the UB Student Association are eligible to access the mandatory

student activity fees distributed … by the UB Student Association.” Compl., Doc. 37,

¶ 64; id. ¶ 59(b) (noting “benefits of recognition” include “access to funding from the

Mandatory Student Activity Fee (if recognized by a student government)” (cleaned

up)). Thus, the University Defendants have a specific constitutional mandate to en-

sure that this forum remains viewpoint-neutral. Southworth, 529 U.S. at 233–34.

      The University Defendants next invoke their general authority to enforce time,

place, and manner restrictions, citing three Supreme Court cases. Univ. Defs.’ Br.,

Doc. 40-1, at 11. But like the students in those cases, Plaintiffs do not contest this

general authority; they challenge three specific policies. Nor did this general author-

ity immunize the actions and policies in those three cases from review. After all,

Healy ruled that a college could not de-recognize Students for a Democratic Society

because it affiliated with a national organization (even one known for violence),

Healy, 408 U.S. at 185–87, or because officials disliked its views, id. at 187–88. Wid-

mar ruled that a university violated the First Amendment by discriminating based

on content in excluding religious groups from meeting in university facilities. Wid-

mar, 454 U.S. at 269–70, 273. Both contrasted the challenged restrictions with time,

place, and manner rules. Healy, 408 U.S. at 192–93; Widmar, 454 U.S. at 276. And

Papish ruled that expelling a student for speech university officials deemed


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“indecent” or worse represented prohibited content discrimination—not a time, place,

and manner rule. Papish v. Bd. of Curators of Univ. of Mo., 410 U.S. 667, 668 & n.3

(1973) (describing student’s speech); id. at 670 (“[T]he facts set forth … show clearly

that petitioner was expelled because of the disapproved content of the newspaper ra-

ther than the time, place, and manner of its distribution.”).

      In short, neither of these distractions warrants dismissing Plaintiffs’ claims.

      B. Defendants cannot stop student groups from affiliating with off-
         campus allies.

          1. Defendants implemented and enforced a National Affiliation
             Ban, a form of which remains in effect.
      The University Defendants insist that the University “does not have a National

Affiliation Ban.” This ignores the facts in the Complaint, which must be taken as true

here. Hawkins, 2023 WL 5019602, at *1 n.2.

      The Complaint details how Student Association adopted the National Affilia-

tion Ban in response to Plaintiffs hosting Mr. Knowles’ lecture. Compl., Doc. 37, ¶¶

71–80. This ban specifically stated that “no [Student Association] club [except for

those exempted] may be a chapter or otherwise part of any outside organization.” Id.

¶ 78. The resolution was both passed, id. ¶ 79, and “codified in the Student Associa-

tion’s New Club Recognition Policy.” Id. ¶ 80; Compl. Ex. 3, Doc. 37-3, at 1 ¶ 7.

      Moreover, Student Association automatically enforced the National Affiliation

Ban. For it passed another resolution, stating that failure to comply with the ban by

May 31, 2023 “will result in the automatic derecognition of that club.” Id. ¶ 82; accord

id. ¶ 81. As Young Americans for Freedom never disaffiliated with its national organ-

ization, it was automatically derecognized on June 1. Id. ¶¶ 85–86; id. ¶¶ 87–92 (de-

tailing consequences of derecognition). Repealing the ban (only after being sued) does

not change history. Id. ¶¶ 99–104.

      The Complaint also details how Student Association still limits the ability of

student groups to affiliate with off-campus entities. For the Legal Status Ban


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specifies: “Any agreement for a Student Association club to be recognized as a chapter

of an outside organization is subject to review pursuant to SA’s contract policy(ies).”

Id. ¶ 110 (quoting Compl. Ex. 7, Doc. 37-7, at 1 ¶ 7). As the contract policies provide

no criteria for granting or denying such requests, Student Association has a free hand

to do whatever it wants. Id. ¶¶ 112–13; accord Compl. Ex. 8, Doc. 37-8.

      And none of these policies would have any effect without the University De-

fendants. For it is they who operate the student organization forum, id. ¶ 56. It is

they who implement and enforce the UB Recognition Policy, id. ¶¶ 44, 57, which re-

quires that groups recognized by Student Association “must abide by [its] Rules and

Regulations.” Id. ¶ 66. It is they who could change these policies. Id. ¶ 45. Without

them, “Student Association would not have the authority to adopt and implement the

National Affiliation Ban … or … the Legal Status Ban.” Id. ¶ 46.

      These facts from the Complaint control here. Hawkins, 2023 WL 5019602, at

*1 n.2. What happens in other fora, where student fees are unavailable, is beside the

point. See supra Argument II.A. Defendants adopted a National Affiliation Ban, en-

forced it, and maintain it. And the University Defendants are responsible for it.

          2. Restricting a student group’s ability to affiliate with off-campus
             entities is unconstitutional.
      The University Defendants insist the National Affiliation Ban does not violate

Healy. Univ. Defs.’ Br., Doc. 40-1, at 12–13. But aside from pointing to other fora—a

misdirection that does not remedy the flaws of the forum at issue, see supra Argument

II.A—they never explain this assertion, perhaps because they cannot. For Healy ex-

plicitly condemns this ban. Thus, Plaintiffs have cleared the plausibility threshold.

      In Healy, when students tried to form a chapter of Students for a Democratic

Society, college officials “exhibited concern over the relationship between the pro-

posed local group and the National SDS organization.” Healy, 408 U.S. at 172. Given

the national group’s “reputation for campus disruption,” id., officials next required



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the students to file a document stating they were “not under the dictates of any Na-

tional organization.” Id. at 173. Based on these assurances and the presence of other

student groups (including Young Americans for Freedom), these officials recom-

mended that the SDS chapter be recognized. Id. But the president refused to recog-

nize it, finding “that the organization’s philosophy was antithetical to the school’s

policies, and that the group’s independence was doubtful.” Id. at 174–76.

       The Supreme Court first ruled that the First Amendment protects students on

campus with the same force as it does citizens “in the community at large,” id. at 180;

that university students enjoy “the right … to associate to further their personal be-

liefs,” id. at 181; and that “denial of official recognition, without justification, to col-

lege organizations burdens or abridges that associational right,” id. Then it turned to

the national affiliation issue, observing that it “consistently disapproved governmen-

tal action … denying rights and privileges solely because of a citizen’s association

with an unpopular organization.” Id. at 185–86. Even though the national SDS or-

ganization had a record of violence, mere affiliation with it did not justify denying the

student group recognition. Id. at 186–87. As the student group remained “affiliated

with” and retained “an affinity for” the national organization, the president imputed

the national organization’s philosophy to the student group. Id. at 187. But the “mere

disagreement of the President with the group’s philosophy affords no reason to deny

it recognition.” Id. at 187. That’s because the “College … may not restrict speech or

association simply because it finds the views expressed by any group [national or

local] to be abhorrent.” Id. 187–88.

       Like the students in Healy, id. at 173 n.3 (noting students used SDS name

because it “brings to mind the type of organization we wish to bring across”), Plaintiffs

desire to maintain an affiliation with Young America’s Foundation, a relationship

that allows the group to be the group “that its members want it to be.” Compl., Doc.

37, ¶ 84; id. ¶¶ 83, 85, 90–92. Like the president in Healy, Student Association


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disliked Plaintiffs’ expression (i.e., Mr. Knowles’ lecture), blamed it on Plaintiffs’ re-

lationship with Young America’s Foundation, and passed the National Affiliation Ban

in a targeted response. Id. ¶¶ 71–77. Then it automatically derecognized Plaintiffs

for refusing to abandon their national affiliation. Id. ¶¶ 81–92. Going further than

the officials in Healy, Student Association tailored the National Affiliation Ban to

exempt various groups (e.g., the Economics Club, the Environmental Network Club,

the Philosophy, Politics, and Economics Club, and the Political Science Undergradu-

ate Student Association) that address a range of economic, philosophical, and political

issues similar to those Plaintiffs address. Id. ¶¶ 93–96. Even after being sued, Stu-

dent Association simply recast the National Affiliation Ban and incorporated it into

the Legal Status Ban. See supra Argument II.B.1.

      In short, the University Defendants point to no meaningful difference between

their National Affiliation Ban and the affiliation restrictions ruled unconstitutional

in Healy. Hence, Plaintiffs stated plausible claims, and this motion should be denied.

      C. Defendants’ policies flunk the standards for a limited public forum.
      The University Defendants insist that, since this is a limited public forum,

their policies need only be “viewpoint-neutral and reasonable.” Univ. Defs.’ Br., Doc.

40-1, at 11. This oversimplifies Second Circuit law, but as their policies fail even these

standards, Plaintiffs stated plausible claims, and their motion should be denied.

      Once University officials create a limited public forum, their “ability … to in-

terfere with the speech made through such an outlet is generally strictly curtailed.”

Husain v. Springer, 494 F.3d 108, 121 (2d Cir. 2007) (quotation omitted). The Uni-

versity Defendants and Student Association are “‘free to impose a blanket exclusion

on certain types of speech, but once [they] allow[ ] expressive activities of a certain

genre, [they] may not selectively deny access for other activities of that genre.’” Tyler

v. City of Kingston, 74 F.4th 57, 61–62 (2d Cir. 2023) (quoting Hotel Emps. & Rest.

Emps. Union, Local 100 of N.Y. v. City of N.Y. Dep’t of Parks & Recreation, 311 F.3d


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534, 545–46 (2d Cir. 2002) (cleaned up). “For ‘expressive uses not falling within the

limited category for which the forum has been opened, restrictions need only be view-

point neutral and reasonable.’” Id. (quoting Hotel Emps., 311 F.3d at 546). But for

“‘speech that falls within th[at] designated category,’” “‘strict scrutiny’” applies. Id. at

62 (quoting Hotel Emps., 311 F.3d at 545) (cleaned up).

       Here, the Complaint states that Plaintiffs’ speech and association clearly falls

within the boundaries of Student Association’s recognized student organization fo-

rum. After all, the Complaint states that Young Americans for Freedom has existed

since about 2017, Compl., Doc. 37, ¶ 49, and that it has held regular meetings and

events on campus to advance its views, id. ¶¶ 50–54, 72–74. During those six years

or so, the Complaint states that it was a “recognized student organization under the

University’s and Student Association’s policies.” Id. ¶¶ 71. These facts must be taken

as true. Hawkins, 2023 WL 5019602, at *1 n.2. Thus, Defendants’ policies must sur-

vive strict scrutiny. Tyler, 74 F.4th at 62. But they cannot, seeing as they cannot even

survive the reasonable and viewpoint-neutral test.

          1. Defendants’ policies are not viewpoint-neutral and were applied
             in a viewpoint-based way.
       Defendants’ policies must at least be viewpoint-neutral. Tyler, 74 F.4th at 61.

This is particularly true for the University Defendants in this student-fee forum.

Southworth, 529 U.S. at 233–34. But the Complaint details how the policies are view-

point-based and were enforced in the same way.

       The University Defendants contest this, basing their entire argument on one

Student Association by-law. Univ. Defs.’ Br., Doc. 40-1, at 8, 13–14. That by-law refers

only to “funding decisions,” not to other decisions (e.g., the recognition decisions at

issue here) that determine whether a student group can access the student-fee forum.

Id. It is these other decisions that also impact “the availability of funds,” and if they

are viewpoint-based, the entire system is unconstitutional. Husain, 494 F.3d at 130.



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The by-law also bans only decisions based on “the political viewpoints of clubs or their

members.” Id. And for almost three decades, it has been clear that viewpoint discrim-

ination includes many more mutations. E.g., Rosenberger, 515 U.S. at 831 (finding

that banning funding for “religious activities” constitutes viewpoint discrimination).

      What’s more, the Second Circuit rejected this argument. When Albany officials

tried to defeat a viewpoint-discrimination claim by citing “the SA Constitution’s gen-

eral requirement that funding decisions be viewpoint-neutral,” the Second Circuit

found this “insufficient.” Amidon v. Student Ass’n of State Univ. of N.Y. at Albany,

508 F.3d 94, 104 (2d Cir. 2007). For “the bare statement without meaningful protec-

tions is inadequate to honor [Southworth’s] commands.” Id. “It does nothing to help

courts identify covert viewpoint discrimination, nor does it prevent self-censorship by

timid speakers who are worried that officials will discriminate against their unortho-

dox views notwithstanding constitutional proscriptions.” Id. What failed at Albany

then also fails at Buffalo now.

      In so doing, the Second Circuit pointed back to how the Supreme Court “con-

sistently condemn[s]” speech regulations that “vest in an administrative official dis-

cretion to grant or withhold a permit upon broad criteria unrelated to proper regula-

tion of public places.” Shuttlesworth v. City of Birmingham, 394 U.S. 147, 153 (1969).

Given vague or non-existent criteria, officials “may decide who may speak and who

may not based upon the content of the speech or viewpoint of the speaker.” City of

Lakewood v. Plain Dealer Publ’g Co., 486 U.S. 750, 763–64 (1988). Speech restrictions

must “contain narrow, objective, and definite standards to guide” officials, Shut-

tlesworth, 394 U.S. at 150–51, and cannot involve the “appraisal of facts, the exercise

of judgement, and the formation of an opinion.” Forsyth Cnty. v. Nationalist Move-

ment, 505 U.S. 123, 131 (1992). These principles apply with full force to student-fee

fora, like the one here. Amidon, 508 F.3d at 103.

      And the Complaint details the many ways that Defendants’ policies are


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viewpoint-based, both on their terms and in their implementation. On its face, the

National Affiliation Ban applied only to certain student groups; those in the “Aca-

demic, Engineering, or Sports Councils” and those engaged “in inter-collegiate com-

petition” were exempted. Compl., Doc. 37, ¶¶ 94. This allowed at least four groups

that address the same issues as Young Americans for Freedom to retain their affilia-

tions. Id. ¶¶ 95–96. Student Association retained unlimited discretion to decide which

groups belonged to the exempted or unexempted councils. Id. ¶¶ 97–98. Even now,

the restriction on student group affiliations still gives Student Association unlimited

discretion, for it has no guidelines—certainly no objective or comprehensive ones—on

whether to approve or deny student group requests. Id. ¶¶ 110–13, 264.

      When it comes to implementation, the Complaint explains how Student Asso-

ciation passed the National Affiliation Ban in direct response to Plaintiffs’ protected

speech (i.e., Mr. Knowles’ lecture), id. ¶¶ 71–80; how it automatically derecognized

Young Americans for Freedom, id. ¶¶ 81–92; and how this ban applied to Plaintiffs

but not to other similar groups, id. ¶¶ 93–98. It also details how Student Association

replaced that policy “with a different requirement” that “accomplished the same ob-

jective as the National Affiliation Ban.” Id. ¶¶ 105–08. So the viewpoint-based objec-

tives of the National Affiliation Ban also taint the Legal Status Ban. And attempts to

drive certain views out of the marketplace of ideas are “clearly impermissible” in a

forum “open to unrestricted speech.” Husain, 494 F.3d at 127.

      Under the Legal Status Ban, the Complaint details how Student Association

has unbridled discretion over whether to recognize a student group because no policy

outlines comprehensive, objective guidelines governing these decisions. Compl., Doc.

37, ¶¶ 114–16. Thus, Student Association can refuse to recognize a club for any rea-

son, and it can also refuse to recognize clubs that meet all listed criteria. Id. ¶¶ 261–

263. It also has unbridled discretion over whether a student organization can conduct

a fundraiser (e.g., a car wash), Compl., Doc. 37, ¶¶ 143–47, 265; can enter into a


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contract or conduct a financial transaction, id. ¶¶ 148–59, 265; or can retain its own

property, id. ¶¶ 174–80, 265. And it has used this discretion to delay and interfere

with Plaintiffs’ expressive activities. Id. ¶¶ 160–73, 266.

      These facts, which must be taken as true here, Hawkins, 2023 WL 5019602, at

*1 n.2, amply demonstrate that Plaintiffs pleaded plausible viewpoint discrimination

claims. The University Defendants’ motion should be denied.

          2. Defendants’ policies are not reasonable given the speech-facili-
             tating purpose of the student organization forum.
      At the very least, Defendants’ policies must also be “reasonable in light of the

purpose served by the forum.” Cornelius v. NAACP Leg. Def. Fund, 473 U.S. 788, 806

(1985); Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37, 49 (1983) (“lim-

iting [the] forum to activities compatible with the intended purpose of the property”).

They must at least be “consistent with a legitimate Government interest.” Byrne v.

Rutledge, 623 F.3d 46, 59–60 (2d Cir. 2010) (cleaned up). But they are not.

      In the UB Recognition Policy, the University “recognizes that organized stu-

dent groups are a valuable part of the student education environment” and that they

can make “positive contributions to the primary educational mission of the Univer-

sity.” Compl. Ex. 1, Doc. 37-1, at 1. Thus, the Complaint states the “University set up

a forum for student organizations to engage in expression.” Compl., Doc. 37, ¶ 55.

      The New York regulations that the University Defendants cite (in the one par-

agraph they dedicate to explaining their policies’ reasonableness, Univ. Defs.’ Br.,

Doc. 40-1, at 11–12) confirm the forum’s broad scope. They note it exists to promote

“programs for cultural and educational enrichment,” “student publications and other

media,” “student organizations … for the purpose and activities … that are of an ed-

ucational, cultural, recreational[,] or social nature.” 8 N.Y.C.R.R. § 302.14(c)(3).

      This forum mirrors the Southworth forum, one where the university chose to

ensure “students have the means to engage in dynamic discussions of philosophical,



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religious, scientific, social, and political subjects in their extracurricular campus life

outside the lecture hall.” Southworth, 529 U.S. at 233. It “is distinguished not by dis-

cernable limits but by its vast, unexplored boundaries.” Id. at 232. Its purpose is “fa-

cilitating the free and open exchange of ideas by, and among, students.” Id. at 229;

Carroll v. Blinken, 957 F.2d 991, 1000 (2d Cir. 1992) (describing student-fee funding

for a group as serving as a “hands-on civics exercise” and “stimulat[ing] uninhibited

and vigorous discussions on matters of campus and public concern”). 5

      Defendants’ policies are not reasonable because they do not limit the forum to

its intended purposes. Derecognizing student groups simply because they choose to

affiliate with off-campus entities does nothing to facilitate student speech; undercuts

their ability to provide “educational, cultural, recreational[,] or social” events, 8

N.Y.C.R.R. § 302.14(c)(3); and stifles the exchange of ideas. Tailoring the National

Affiliation Ban so that it applies only to some groups, while allowing others to retain

their affiliation only makes the unreasonableness more apparent. Compl., Doc. 37,

¶¶ 92–98. Indeed, the policy was so unreasonable that Student Association repealed

it once Plaintiffs filed suit and sought a preliminary injunction. Id. ¶¶ 99–104. And

this attempt to control student groups does not become reasonable by embedding it

in the Legal Status Ban and giving Student Association unfettered discretion to de-

cide who can affiliate with off-campus entities and who cannot. Id. ¶¶ 110–13.

      The other components of the Legal Status Ban fare no better. It bans student

groups from maintaining their own existence as groups distinct from (though recog-

nized by) Student Association. Id. ¶¶ 105–07, 121–27. Thus, it forces all student

groups to merge into one—Student Association. Id. ¶¶ 181–82. After all, it is an axiom

that if a = b and b = c, then a = c. Likewise, if Young Americans for Freedom is sub-

sumed within Student Association and College Democrats is too, then Young

5  Carroll is “not controlling” in part as it predated Southworth, but this does not
impact its descriptions of the student-fee forum’s purpose. Amidon, 508 F.3d at 100.

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Americans for Freedom and College Democrats are one and the same organization.

In the process, they lose their distinctive voice, as well as their ability to advance

their views on campus. Id. ¶¶ 183–92. None of this facilitates speech.

      The Legal Status Ban also outlaws student groups from defending their own

rights by prohibiting them from “tak[ing] legal action” or “commenc[ing] litigation”

Id. ¶ 109; accord id. ¶¶ 128–37. It prohibits them from signing contracts, holding

funds, or even owning property. Id. ¶¶ 109, 138–80. Yet these are the very actions

student groups must take if they are to organize “educational, cultural, recreational[,]

or social” events. 8 N.Y.C.R.R. § 302.14(c)(3).

      Last, the UB Recognition Policy just gives Student Association a blank check

to write whatever policies it wants, with little (if any) meaningful oversight. Compl.,

Doc. 37, ¶¶ 65–70. And the University Defendants, who could hold Student Associa-

tion accountable to constitutional standards, have abdicated that role. Id. ¶¶ 44–46.

      Worse yet, as the “college classroom with its surrounding environs is peculiarly

the marketplace of ideas,” Healy, 408 U.S. at 180 (cleaned up), all these policies teach

our future leaders precisely the wrong civics lesson. Carroll, 957 F.2d at 1000. They

teach our future citizens that the government can micromanage with whom they as-

sociate; can foil their efforts to coordinate with like-minded people to advance a par-

ticular viewpoint by forcing them to associate with those who do not share that view;

and can strip them of their property, their ability to coordinate expressive events, and

even their ability to defend their rights. And when faced with such oppressive poli-

cies, those in a position to provide relief instead give their imprimatur to the oppres-

sion. To be sure, every government official who has ever tried to consolidate control

over others thought doing so was the best, most efficient, and most reasonable ap-

proach. But this approach still remains incompatible with the purpose of the student

organization forum here: facilitating student speech and encouraging unfettered de-

bate in the marketplace of ideas. Instead, all three policies cast the prohibited “pall


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of orthodoxy” over this forum and thus are not reasonable. Keyishian v. Bd. of Regents

of Univ. of State of N.Y., 385 U.S. 589, 603 (1957). So Plaintiffs plausibly pleaded that

these policies are unreasonable, rendering them illegal in this forum, and the Uni-

versity Defendants’ motion should be denied.

          3. Defendants’ policies flunk the strict scrutiny that applies to
             speech that falls within the scope of this forum.
      As Defendants’ policies cannot survive even the most minimal standards for a

limited public forum, they cannot withstand the strict scrutiny that applies here,

where Plaintiffs’ speech and association fall so well within the forum’s scope. Tyler,

74 F.4th at 62. After all, strict scrutiny requires the University Defendants to prove

that each policy “furthers a compelling interest and is narrowly tailored to achieve

[it].” Reed v. Town of Gilbert, 576 U.S. 155, 171 (2015).

      The only interest the University Defendants advance is “avoid[ing] the poten-

tial for financial irregularities and facilitat[ing] prompt review of the expenditure of

UB student activity fees.” Univ. Defs.’ Br., Doc. 40-1, at 12. This not a compelling

interest, and they have not shown that Plaintiffs’ expression implicates it. Fulton v.

City of Phila., 141 S. Ct. 1868, 1881 (2021). Plus, they have a host of less intrusive

alternatives to accomplish these goals. They need not ban all affiliations, merge all

student groups into one entity, or micromanage every car wash to ensure that finan-

cial policies are followed. They could, perhaps, just enforce their financial policies.

                                     CONCLUSION
      Neither the Eleventh Amendment, nor the availability of other fora that do not

offer student-fee funding, nor some general rulemaking authority provides any basis

for dismissing Plaintiffs’ claims. The Complaint pleads facts showing that Defend-

ants’ policies violate Plaintiffs’ rights and flunk any level of constitutional scrutiny.

As these facts must be accepted as true and construed in their favor, the University

Defendants’ motion should be denied. Hawkins, 2023 WL 5019602, at *1 n.2.



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     Respectfully submitted this 23rd day of February, 2024.

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                                CERTIFICATE OF SERVICE
       I hereby certify that on February 23, 2024, I electronically filed the foregoing

using the CM/ECF system, which automatically sends an electronic notification with

this filing to all attorneys of record.

       Respectfully submitted this 23rd day of February, 2024.

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